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Karin M. G u n t e r , E s q u i r e
P A ID No. 7 9 8 5 2
L a w Office of K a r i n M. G u n t e r
8 5 Old C e d a r b r o o k R o a d
Wyncote, P A 1905                                                                          A T T O R N E Y F O R PLAINTIFF,
(215) 548-9992                                                                             MIGUEL J. CHAVARRIA, J R .



                                   IN T H E U N I T E D S T A T E S D I S T R I C T C O U R T
                                FOR T H E EASTERN DISTRICT OF PENNSYLVANIA



MIGUEL J. CHAVARRIA, J R ,
            Plaintiff                                                                                  Civil Action No.:

           V.
                                                                                                       JURY TRIAL DEMANDED
P H I L A D E L P H I A G A S W O R K S and.
  G A S W O R K S E M P L O Y E E S ' UNION L O C A L 686
                     Defendants.



                                                               COMPLAINT

                                                       Preliminary Statement

           T h i s action is brought by a n e m p l o y e e against his e m p l o y e r a n d his labor union

(collectively " D e f e n d a n t s " ) for discrimination b a s e d on r a c e , color a n d national origin in violation

o f T l t l e V I I o f t h e Civil R i g h t s A c t of 1 9 6 4 , as amended,     4 2 U . S . C . § 2 0 0 0 e - 1 et seq. ("Title V I I " ) ;

P e n n s y l v a n i a H u m a n R e l a t i o n s Act, as amended,      4 3 P . S . §§ 9 5 1 - 9 6 3 ( " P H R A " ) ; S e c t i o n 1 9 8 3

of the Civil Rights A c t of 1 8 7 1 , a s a m e n d e d , 4 2 U . S . C . § 1 9 8 3 ( " S e c t i o n 1 9 8 3 " ) ; a n d for

violation of his rights under the Civil Rights A c t of 1 8 6 6 , a s amended.                          4 2 U . S . C . §1981 a

("Section 1981 A " ) .

           Plaintiff s e e k s front pay, b a c k pay, c o m p e n s a t o r y a n d punitive d a m a g e s , attorney's

f e e s , expert f e e s , c o s t s a n d s u c h other relief a s this Court d e e m s just a n d proper.

                                                      Jurisdiction and Venue

           1.   Original jurisdiction o v e r Plaintiff's federal question c l a i m s is conferred upon this

Court pursuant to 4 2 U . S . C . § 2 0 0 0 e - 5 ( f ) ( 1 ) a n d 2 8 U . S . C . §§ 1 3 3 1 a n d 1 3 4 3 . S u p p l e m e n t a l

jurisdiction over Plaintiff's state law c l a i m s is conferred upon this C o u r t p u r s u a n t to 28 U . S . C . §
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 1367(a).

            2.   V e n u e lies in this district by 2 8 U . S . C . § 1 3 9 1 ( b ) a n d ( c ) in that all a c t i o n s

complained of o c c u r r e d a n d D e f e n d a n t r e s i d e s in this district.

            3.   Plaintiff h a s e x h a u s t e d his administrative r e m e d i e s under Title V I I a n d P H R A .

           4.    O n or about A u g u s t 9, 2 0 1 8 , Plaintiff dually filed a n administrative complaint against

D e f e n d a n t s Ph ila d elp h ia G a s W o r k s ( " P G W or " E m p l o y e r " ) a n d G a s W o r k s E m p l o y e e s ' Union

L o c a l 6 8 6 ( " L o c a l 6 8 6 " or "Union") with United S t a t e s E q u a l E m p l o y m e n t Opportunity

C o m m i s s i o n ( " E E O C " ) a n d the P e n n s y l v a n i a H u m a n R e l a t i o n s C o m m i s s i o n ( " P H R C " ) alleging

r a c e , color, national origin a n d g e n d e r discrimination.

           5.    O n or about J u l y 2, 2 0 1 9 ( P G W ) a n d J u l y 3, 2 0 1 9 ( U n i o n ) , Plaintiff r e c e i v e d E E O C ' s

Notice of Right to S u e letters.

                 T r u e a n d correct c o p i e s of E E O C ' s Right to S u e L e t t e r s a r e a t t a c h e d a s Exhibit "A".

           6.    Plaintiff a n ticip a tes receiving a similar c l o s u r e letter from the P H R C .

                                                                      Parties

           7.    Plaintiff M I G U E L J . C H A V A R R I A , J R . ("Plaintiff" or " C h a v a r r i a " ) is a n adult person

a n d a citizen o f t h e United S t a t e s . Plaintiff r e s i d e s in P h i l a d e l p h i a , P e n n s y l v a n i a . At all t i m e s

relevant to this action, Plaintiff w a s e m p l o y e d by D e f e n d a n t P G W a n d a d u e s paying m e m b e r

of Defendant L o c a l 6 8 6 .

           8.    D e f e n d a n t P H I L A D E L P H I A G A S W O R K S is a municipality o w n e d g a s utility

c o m p a n y . It is h e a d q u a r t e r e d at 8 0 0 W . Montgomery A v e n u e , P h i l a d e l p h i a , P A 1 9 1 2 2 with

more than 5 0 0 e m p l o y e e s .

           9.    D e f e n d a n t G A S W O R K S E M P L O Y E E S ' U N I O N L O C A L 6 8 6 is a tr ade a n d labor

union a n d is part o f t h e Utility W o r k s Union of A m e r i c a . It is h e a d q u a r t e r e d at 9 1 9 0 M a r s h a l l

Street, Philadelphia, P A 1 9 1 5 4 with more than 5 0 0 m e m b e r s .

                                                                 Factual Allegations

           10. Plaintiff is a n A f r i c a n A m e r i c a n , black/brown m a l e of H i s p a n i c ( C o s t a R i c a n )
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descent.

            1 1 . D e f e n d a n t P G W hired Plaintiff in October 1 9 9 2 a s a G a s S u p p l y W o r k e r III.

            12. Plaintiff b e c a m e a F o r e m a n , G a s P r o c e s s i n g at P G W P a s s y u n k Plant ( " P a s s y u n k

Plant") on A u g u s t 19, 2 0 0 6 .

            13. Plaintiff currently c o n t i n u e s to be a F o r e m a n a / k / a W o r k i n g F o r e m a n at P a s s y u n k

plant.

            14. Plaintiff h a s a l w a y s b e e n e m p l o y e d at P G W in its G a s P r o c e s s i n g Department.

            15. At all times relevant to this action, the following e x i s t s :

                 a.    J o h n Z u k ( " Z u k " ) ( C a u c a s i a n ) is V i c e P r e s i d e n t , G a s P r o c e s s i n g .

                 b.    Curt M a l k e m e s ( " M a l k e m e s " ) ( C a u c a s i a n ) is Director, G a s P r o c e s s i n g .

                 c.    B r i a n M c G u i r e ( " M c G u i r e " ) ( C a u c a s i a n ) is Plant M a n a g e m e n t at P a s s y u n k plant

s i n c e on or about late 2 0 1 4 .

                 d.    D a v i d Martinez ( " M a r t i n e z " ) ( C a u c a s i a n H i s p a n i c ) is G e n e r a l S u p e r v i s o r at

P a s s y u n k plant s i n c e on or about A u g u s t 2 0 1 5 .

                 e.    R y a n O'Donnell ( " 0 ' D o n n e H " ) ( C a u c a s i a n ) is Operation S u p e r v i s o r at P a s s y u n k

plant.

                 f.    W a y n e R a u c e o ( " R a u c e o " ) ( A f r i c a n A m e r i c a n C a r i b b e a n d e s c e n t ) is Operation

S u p e r v i s o r at P a s s y u n k plant.

                 g.    J o h n K. W a l k e r ("Walker")(African A m e r i c a n ) is O p e r a t i o n S u p e r v i s o r at

P a s s y u n k plant.

                 h.    Michael T o m c z a k ( " T o m c z a k " ) ( C a u c a s i a n ) is a W o r k i n g F o r e m a n at P a s s y u n k

plant.

                 1.   J o s e Ortiz ( " O r t i z " ) ( C a u c a s i a n H i s p a n i c ) w a s a W o r k i n g F o r e m a n at P a s s y u n k

plant w h o later m o v e d to P G W G a s P r o c e s s i n g R i c h m o n d Plant ( " R i c h m o n d Plant").

                j.     D w a y n e A c k i e ("Ackie")(African A m e r i c a n C a r i b b e a n d e s c e n t ) is a S e n i o r

P r o c e s s Operator ( O p e r a t o r 1) at P a s s y u n k plant.
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                k.    M a u r i c e G o o d w i n ("Goodwin")(African A m e r i c a n ) is a S e n i o r P r o c e s s Operator

(Operator 1) at P a s s y u n k plant.

                I.       Mark G a y d o s h ( " G a y d o s h " ) ( C a u c a s i a n ) is a L o c a l 6 8 6 r e p r e s e n t a t i v e at

P a s s y u n k plant.

                m. Mark M c G e e ( " M c G e e " ) ( C a u c a s i a n ) is a M a n a g e r of H e a l t h / S a f e t y a n d Plant

Protection at P a s s y u n k a n d R i c h m o n d plants.

                n.    T h o m a s M a c k ( " M a c k " ) ( C a u c a s i a n ) is a S e n i o r S a f e t y R e p r e s e n t a t i v e at

P a s s y u n k plant.

                0.    J e s s i e Gill ( C a u c a s i a n H i s p a n i c male)("GiH") is a L o c a l 6 8 6 union representative

at P a s s y u n k plant.

                                                                 COUNT I
                                                             Plaintiff V. P G W
                                   R a c e , C o i o r a n d National Origin D i s c r i m i n a t i o n -
                                   Hostile Work Environment (Continuing Violations)

          16. Plaintiff r e - a v e r s a n d incorporates by r e f e r e n c e the a v e r m e n t s in all p a r a g r a p h s ,

supra.

          17. Plaintiff is a m e m b e r of a protected c l a s s .

          18. Plaintiff is qualified for the position of Working F o r e m a n .

          19. Plant operations at the P a s s y u n k plant h a v e b e e n understaffed s i n c e on or about

2 0 1 3 , w h e n the plant e x p e r i e n c e d m a s s i v e staff attrition d u e to retirements, job m o v e s ,

turnovers a n d the like.

          2 0 . "Optimal" staff l e v e l s would be 5 positional m e m b e r s (i.e., s u p e r v i s o r s , f o r e m e n a n d

p r o c e s s operators) at the plant. "Minimal" staff levels would be 4 positional m e m b e r s , w h i c h

a m o u n t s to one positional staff m e m b e r (supervisor, f o r e m a n a n d p r o c e s s operator) for e a c h of

the four work shifts.

          2 1 . C u r r e n t P a s s y u n k g a s p r o c e s s i n g m a n a g e m e n t , specifically, Z u k , M a l k e m e s ,

M c G u i r e a n d Martinez, h a s n e v e r adequately prepared for retirement r e p l a c e m e n t s or m o v e s to
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the R i c h m o n d plant. F o r e x a m p l e , Ortiz m o v e d to the R i c h m o n d plant, a n d the r e p l a c e m e n t

hired by P a s s y u n a \ plant m a n a g e m e n t for O r t i z ' s position h a s b e e n on light duty for s o m e 5

months, leaving the r e p l a c e m e n t not available for shift.

           22. M c G u i r e a n d Martinez c r e a t e d a n d continue to c r e a t e a hostile w o r k environment

s e g r e g a t e d by r a c e , color a n d national origin.

           2 3 . M c G u i r e a n d Martinez continue to violate s c h e d u l i n g , overtime, v a c a t i o n a n d other

P G W employment policies, w h i c h c r e a t e s a continuing a n d persistent hostile w o r k environment:

                a.    In the past, M c G u i r e h a s referred to protected c l a s s , i.e., black a n d brown

e m p l o y e e s a s "mutts";

                b.    O ' D o n n e l l , at the instruction a n d direction of Martinez, called Plaintiff by phone

insistent Plaintiff turn d o w n insufficient notice pay, or e l s e Plaintiff w o u l d h a v e overtime pay

t a k e n from him;

                c.    Martinez ignoring seniority guidelines for s c h e d u l i n g v a c a t i o n d a y s , w h i c h

including denying Plaintiff ( w h o h a s more than 2 5 y e a r s of s e r v i c e ) a n d giving t h o s e d a y s to

non-protected c l a s s p e r s o n s with 15 y e a r s l e s s s e r v i c e with P G W ;

                d.   M c G u i r e using W o r k i n g F o r e m a n w o r k s c h e d u l e to s e g r e g a t e a n d give

preferential s c h e d u l i n g to non-protected c l a s s ( C a u c a s i a n ) e m p l o y e e s ;

                e.   Martinez s c h e d u l e d Plaintiff to work 6 d a y s ( N o v e m b e r 2 9 , 3 0 a n d D e c e m b e r 1 ,

6, 7 a n d 8, 2 0 1 7 ) on truck unloading project, but only s c h e d u l e d the other non-protected c l a s s

( C a u c a s i a n ) working f o r e m e n ( T o m c z a k a n d Ortiz) at most 2 d a y s on the project during that

s a m e time period;

                f.   O n or about F e b r u a r y 2 0 1 8 , M c G u i r e s e a r c h e d the L N G Control R o o m building,

w h e r e Plaintiff's w o r k station is, looking through wall p a n e l s , h a l l w a y s a n d the like a n d a s k i n g

Plaintiff questions about m a i n t e n a n c e i s s u e s . A s plant m a n a g e r , M c G u i r e is not t a s k e d to

perform t h e s e functions but w a s rather stalking Plaintiff, w h o c a l l e d H u m a n R e s o u r c e s

immediately;
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                 g.     F e b r u a r y 2 0 1 8 w a s not the first time M c G u i r e and/or other P a s s y u n k plant

m a n a g e m e n t s t a l k e d Plaintiff by hovering over his work station and/or in the plant;

                 h.    O n or about M a r c h 6, 2 0 1 8 , during a s afe ty meeting c o n d u c t e d by M c G e e , M a c k

stated there w e r e "rats" a n d "squirrels" in the plant. S o m e o n e in the room s t a t e d "Well, you

know what you h a v e to do with rats. Y o u h a v e to poison t h e m . " It w a s c l e a r they w e r e not

talking about rodents but rather people. A c k i e and W a l k e r attended that meeting.

           24. A s a result of t h e s e a n d continuing action by P a s s y u n k plant m a n a g e m e n t a n d union

r e p r e s e n t a t i v e s . Plaintiff h a s b e e n u n d e r t r e m e n d o u s s t r e s s a n d is s e e k i n g outside help for

emotional d i s t r e s s .

           2 5 . B a s e d on the foregoing, Plaintiff a v e r s E m p l o y e r violated Title V I I a n d S e c t i o n 1 9 8 3

a s follows:

                 a.    Plaintiff is a n d w a s s u b j e c t e d to continuing a n d pe r s is te nt r a c e , color a n d

national origin discrimination in the t e r m s a n d conditions of his e m p l o y m e n t regarding

scheduling of work a s s i g n m e n t s , overtime, inter                alia;

                 b.   Plant m a n a g e m e n t ' s conduct v i a M c G u i r e , Martinez, O ' D o n n e l l , inter alia, is not

w e l c o m e d by Plaintiff;

                 c.   Plant m a n a g e m e n t ' s conduct w a s motivated by the fact that Plaintiff is A fr ic an

A m e r i c a n , C o s t a R i c a n d e s c e n t , and/or a brown/black m a l e ;

                 d.   Plant m a n a g e m e n t ' s conduct is s o s e v e r e or p e r v a s i v e that a r e a s o n a b l e person

in Plaintiff's position would find his wo r k environment to be hostile or a b u s i v e ;

                 e.   Plaintiff b e l i e v e s his work environment to be hostile or a b u s i v e a s a result of

plant m a n a g e m e n t v i a M c G u i r e ' s , M a r t i n e z ' s , O ' D o n n e l l ' s , inter alia, conduct; a n d

                f.     Plaintiff s u f f e r e d a n a d v e r s e tangible e m p l o y m e n t action a s a result of the hostile

work environment, inter              alia.

           W H E R E F O R E , Plaintiff respectfully r e q u e s t s this Honorable C our t e n t e r judgment in

him favor a n d a g a in s t D e f e n d a n t P G W in the form of front pay, b a c k pay, c o m p e n s a t o r y a n d
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punitive d a m a g e s , attorney's f e e s , e x p e r t f e e s , c o s t s a n d s u c h other relief a s this C our t d e e m s

proper.

                                                             C O U N T II
                                               Plaintiff v. P G W a n d L o c a l 686
                               R a c e , C o l o r a n d National Ori gi n D i s c r i m i n a t i o n -
                                                            Retaliation

          2 6 . Plaintiff r e - a v e r s a n d incorporates by r e f e r e n c e s all allegations in all p a r a g r a p h s ,

supra.

          2 7 . D u e to the p e r v a s i v e a n d ongoing discriminatory p r a c t i c e s at P a s s y u n k plant under

plant m a n a g e r M c G u i r e , Plaintiff filed a n internal complaint with P G W H u m a n R e s o u r c e s

averring r a c e , color a n d national origin, inter            alia.

               a.    In D e c e m b e r 2 0 1 7 , Plaintiff m a d e v e r b a l complaints to his union representative

Gill regarding the N o v e m b e r 2 0 1 7 truck unloading s c h e d u l e put in p l a c e by Martinez;

               b.    Shortly thereafter, on D e c e m b e r 19, 2 0 1 7 at a p p r o x i m a t e l y 4 : 0 0 p.m., Martinez

a p p r o a c h e d Plaintiff, while C h a v a r r i a w a s at his work station in the L N G Control Building, in a n

intimidating tone a n d m a n n e r ;

               0.    Plaintiff in vo k ed his right to h a v e his union r e p r e s e n t a t i v e p r e s e n t before a n y

d i s c u s s i o n s with Martinez w o u l d occur;

               d.   Martinez ignored P l a i n t i f f s request for his union r e p r e s e n t a t i v e , a n d b e g a n to

question C h a v a r r i a regarding the content of his g r i e v a n c e s - specifically about M ar tine z 's

handling of p e r s o n n e l s c h e d u l i n g a s well a s w h y Plaintiff w e n t to the union in the first i n s t a n c e ;

               e.   Plaintiff t h e n told Martinez that all of his q u e s t i o n s w e r e e x p l a i n e d to Gill, his

union re p re se n ta tive. U n d a u n t e d , Martinez continued to state Plaintiff s hould not h a v e gone to

the union;

               f.   Plaintiff o n c e a g a i n invoked his right to h a v e Gill p r e s e n t during their d i s c u s s i o n

at w hi c h point Martinez finally left Plaintiff's w or k station; a n d

               g.   Plaintiff later l e a r n e d Martinez questioned union a n d m a n a g e m e n t p e r s o n n e l in
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the C e n t r a l Control R o o m building regarding Plaintiff's g r i e v a n c e s before coming to his work

station.

            28. O n or about D e c e m b e r 2 0 , 2 0 1 7 , Plaintiff, G a y d o s h , Gill, M c G u i r e a n d Martinez met

regarding C h a v a r r i a ' s v e r b a l complaints a n d Martinez's actions.

            2 9 . I n s t e a d of supporting Plaintiff, G a y d o s h , w h o is p e r s o n a l friends with M c G u i r e , tried

to smooth things o v e r with plant m a n a g e m e n t . Plaintiff d i s a g r e e d with the union's handling of

the matter a n d m a d e two formal g r i e v a n c e s : Number 1 7 - 0 8 - 1 9 a n d 1 7 - 0 8 - 2 0 (collectively

" G r i e v a n c e s " ) , w h i c h the L o c a l 6 8 6 r e p r e s e n t a t i v e s did not e x e c u t e until D e c e m b e r 3 1 , 2 0 1 7 .

            30. T h e r e a f t e r , on D e c e m b e r 2 1 , 2 0 1 7 , Plaintiff initiated a n internal discrimination

complaint with P G W b a s e d on r a c e , color a n d national origin ( " P G W Internal Complaint").

                 A true a n d correct copy of Plaintiff's D e c e m b e r 2 1 , 2 0 1 7 P G W Internal Complaint is

attached a s Exhibit " B " .

           3 1 . In his P G W internal complaint, C h a v a r r i a a v e r r e d racial, color a n d national origin

discrimination, intimidation a n d b i a s continues a n d is p e r v a s i v e u n d e r plant m a n a g e r M c G u i r e

a n d g e n e r a l m a n a g e r Martinez, inter           alia.

           32. Specifically, Plaintiff's P G W internal complaint a v e r r e d hostile w o r k environment -

h a r a s s m e n t , intimidation a n d f a l s e c h a r g e s ; stalking; retaliation; d i s p a r a t e treatment; d i s p a r a t e

impact; scheduling a n d other a d v e r s e e m p l o y m e n t p r a c t i c e s a g a i n s t Plaintiff a n d other African

A m e r i c a n , brown a n d black e m p l o y e e s .

           3 3 . P G W r e p r e s e n t a t i v e s investigated Plaintiff's internal complaint, w h i c h included

interviews of Plaintiff, R a u c e o , A c k i e a n d G o o d w i n , inter alia beginning in J a n u a r y 2 0 1 8 .

           34. During the investigation a n d continuing thereafter, the w o r k e n v i r o n m e n t b e c a m e

u n s a f e a n d hostile a g a i n s t A f r i c a n A m e r i c a n , black a n d brown m a l e e m p l o y e e s at the P a s s y u n k

plant.

           3 5 . During the investigation a n d continuing thereafter, plant m a n a g e m e n t b e g a n making

n e w rules and/or c h a n g i n g longstanding rules that had n e v e r b e e n practiced or e n f o r c e d at the
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 plant.

            36. F o r e x a m p l e , Martinez i s s u e d a directive on M a r c h 13, 2 0 1 8 prohibiting the u s e of

 plant v e h i c l e s by union e m p l o y e e s for their job p e r f o r m a n c e e x c e p t with p e r m i s s i o n from

 m a n a g e m e n t . Prior to this date, union e m p l o y e e s had free a c c e s s to u s e the v e h i c l e s due to

the d i st a nc e they n e e d to c o v e r during the c o u r s e of their work.


           37. Martinez further b e g a n to e n f o r c e old H u m a n R e s o u r c e s policies a g a i n s t protected

c l a s s m e m b e r s (black, brown) a n d not a gains t non-protected c l a s s (white) m e m b e r s . F o r

instance, Martinez prohibited G o o d w i n (black, brown) from using p e r s o n a l electronic d e v i c e s in

the plant citing H R P e r s o n n e l Policy # 0 0 3 - 5 (effective 8 / 1 0 / 2 0 0 7 ) , but continued to permit Ortiz

(white) to u s e a radio out in the o p e n at the P a s s y u n k plant.

           38. T h e r e a f t e r , P a s s y u n k plant m a n a g e m e n t and/or L o c a l 6 8 6 e n g a g e d in a c o u r s e of

retaliation a ga in s t Plaintiff, R a u c e o , A c k i e a n d G o o d w i n including, but not limited to:

               a.     Plaintiff required to wo r k s e v e r a l d a y s with no time off.

               b.     O n F r i d a y , F e b r u a r y 2 3 , 2 0 1 8 at approximately 1 1 : 3 5 p.m., M c G u i r e s n u c k into

the plan u n a n n o u n c e d during his time off, d r e s s e d in c a s u a l c l o t h e s , w h i c h is a g a i n s t c o m p a n y

plant security protocol. M c G u i r e then confronted A c k i e at his w o r k station us ing profanity a n d

smelling of alcohol.

               c.    A f e w d a y s later, M c G u i r e c a m e into the L N G Control R o o m building a n d b e g a n

stalking Plaintiff at his w o r k station by looking through p a n e l s a n d h a l l w a y s a r o u n d the w or k

station a n d questioning C h a v a r r i a bout m a i n t e n a n c e i s s u e s .

               d.    C n M a r c h 2 8 , 2 0 1 8 , L o c a l 6 8 6 s e nt Plaintiff a letter indicating the Union

G r i e v a n c e C o m m i t t e e performed the initial s t a g e s of a n investigation but would not p u r s u e any

further s t e p s In the p r o c e s s . H o w e v e r , b a s e d on g r i e v a n c e protocol, the g r i e v a n c e committee

should h a v e p r e s e n t e d the matter to the Union B o a r d for review. After d i s c u s s i o n s with one

union board m e m b e r . Plaintiff l e a r n e d L o c a l 6 8 6 failed to s h o w his g r i e v a n c e s to the board.

          39. P G W c o n d u c t e d a n investigation of Plaintiff's D e c e m b e r 2 1 , 2 0 1 7 , w h i c h involved
               Case 2:19-cv-04428-GJP Document 1 Filed 09/24/19 Page 10 of 21



 interviews of a n u m b e r of protected c l a s s m e m b e r s at the P a s s y u n k plant.

            4 0 . During the investigation a n d continuing to the p r e s e n t , M c G u i r e a n d other

 m a n a g e m e n t p e r s o n n e l including, but not limited to, Martinez a n d O ' D o n n e l l e n g a g e d in a

c o u r s e of retaliation that I n v o l v e s referring to Plaintiff a n d other protected c l a s s m e m b e r s a s

"rats".


            4 1 . During the investigation a n d continuing to the p r e s e n t , M c G u i r e a n d other

m a n a g e m e n t p e r s o n n e l including, but not limited to, Martinez a n d O ' D o n n e l l e n g a g e d in a

c o u r s e of retaliation that i n v o l v e s c h a n g i n g p r a c t i c e s a n d policies regarding plant v e h i c l e u s e ,

scheduling, distribution of w o r k a n d overtime, d a y s off, stalking a n d the like t o w a r d s Plaintiff

and other protected c l a s s m e m b e r s .

            4 2 . F u r t h e r m o r e , P G W s e n t Plaintiff a letter dated April 2 5 , 2 0 1 8 alleging its internal

investigation failed to find discrimination or retaliation.

            4 3 . H o w e v e r , on that s a m e d a y a n d the following, April 2 5 , 2 0 1 8 a n d April 2 6 , 2 0 1 8

Plaintiff a n d other protected c l a s s m e m b e r s (i.e., R a u c e o ) found s i g n s pos te d outside the locker

room (clock out a r e a ) a n d in the boiler a r e a reading " T h e R a t P a c k . "

                  A true a n d correct picture of the sign found in the boiler a r e a is a t t a c h e d a s Exhibit

"C".

            4 4 . F u r t h e r m o r e , on M a r c h 2 8 , 2 0 1 8 , L o c a l 6 8 6 s e n t Plaintiff a letter av e r r ing it " p u r s u e d

[his] g r i e v a n c e through the initial s t a g e s of the g r i e v a n c e p r o c e d u r e s e t forth in the parties'

Collective B a r g a i n i n g A g r e e m e n t , a n d P G W r e f u s e d to grant the r e m e d y that w e h a d

requested."

           4 5 . I n s t e a d of further pursuing the g r i e v a n c e through the next s t e p s , w h i c h would h a v e

involved in part going to the entire union b o a r d / g r i e v a n c e L o c a l 6 8 6 e n d e d its investigation of

Plaintiff's g r i e v a n c e s .

           4 6 . T h e r e a f t e r , during a s a f e t y meeting conducted by M c G e e on or about M a r c h 6,

2 0 1 8 , protected c l a s s m e m b e r s w h o m a d e complaints about the discrimination at the P a s s y u n k
                 Case 2:19-cv-04428-GJP Document 1 Filed 09/24/19 Page 11 of 21



 plant including, but not limited to, Plaintiff w e r e called "rats" a n d "squirrels", a n d t h r e a t s w e r e

m a d e about having to "poison" rats to get rid t h e m .

            W H E R E F O R E , Plaintiff respectfully r e q u e s t s this H o n o r a b l e C o u r t e n t e r judgment in

him favor a n d a g a in s t D e f e n d a n t P G W in the form of front pay, b a c k pay, c o m p e n s a t o r y and

punitive d a m a g e s , attorney's f e e s , e x p e r t f e e s , c o s t s a n d s u c h other relief a s this Court d e e m s

proper.

                                                                  C O U N T III
                                                    Plaintiff v. P G W a n d L o c a l 686
                                    R a c e , C o l o r a n d National Ori gi n D i s c r i m i n a t i o n -
                                                            Disparate Treatment

            4 7 . Plaintiff r e - a v e r s a n d incorporates by r e f e r e n c e all a v e r m e n t s in all p a r a g r a p h s ,

supra.

            4 8 . Plaintiff s u f f e r e d a d v e r s e e m p l o y m e n t actions w h e n P a s s y u n k plant m a n a g e m e n t

treated similarly situated non-protected c l a s s m e m b e r s differently from Plaintiff.

            4 9 . Plaintiff s u f f e r e d a d v e r s e e m p l o y m e n t actins w h e n L o c a l 6 8 6 treated similarly

situated non-protected c l a s s m e m b e r s differently from Plaintiff.

            50. A s a result of P G W ' s intentional discriminatory conduct, Plaintiff's e m p l o y m e n t w a s

a d v e r s e l y affected.

           5 1 . A s a result of L o c a l 6 8 6 ' s intentional discriminatory conduct, Plaintiff's e m p l o y m e n t

w a s a d v e r s e l y affected.

           52. D e f e n d a n t s ' intentional discriminatory conduct would h a v e a d v e r s e l y affected a

r e a s o n a b l e p e r s o n of the s a m e protected c l a s s a s Plaintiff.

           5 3 . P G W is v i c a r i o u s l y liable v i a respondeat       superior     ior the a c t i o n s of M c G u i r e ,

Martinez, O' D o n n ell, inter           alia.

           54. L o c a l 6 8 6 is v i c a r i o u s l y liable v i a respondeat     superior      for the a c t i o n s of G a y d o s h ,

inter    alia.

           5 5 . D e f e n d a n t s ' failure to provide Plaintiff with the s a m e t e r m s a n d conditions of
              Case 2:19-cv-04428-GJP Document 1 Filed 09/24/19 Page 12 of 21



 employment and/or collective bargaining representation c r e a t e d a n i n f e r e n c e of r a c e , color a n d

 national origin discrimination.

           56. Plaintiff a v e r s D e f e n d a n t s P G W ' s a n d L o c a l 6 8 6 ' s alleged r e a s o n s for failing to

provide him with the s a m e t e r m s a n d conditions of e m p l o y m e n t and/or collective bargaining

representation is a pretext for discrimination.

           5 7 . Plaintiff a v e r s D e f e n d a n t s P G E a n d L o c a l 6 8 6 continue to discriminate agains t him

a n d other protected c l a s s m e m b e r s b a s e d on r a c e , color a n d national origin.

           58. D e f e n d a n t s ' discriminatory conduct toward Plaintiff a s a v e r r e d herein s h o w the

e x i s t e n c e of c i r c u m s t a n c e s that give rise to a n inference of prohibited discrimination.

           59. A s a result of D e f e n d a n t s ' intentional discrimination, Plaintiff s u f f e r e d injuries

including, but not limited to, emotional d i s t r e s s , financial a n d other injuries.

            W H E R E F O R E , Plaintiff respectfully r e q u e s t s this Honorable C our t enter judgment in

him favor a n d a g a i n s t D e f e n d a n t P G W in the form of front pay, b a c k p a y , c o m p e n s a t o r y a n d

punitive d a m a g e s , attorney's f e e s , expert f e e s , c o s t s a n d s u c h other relief a s this Court d e e m s

proper.

                                                               C O U N T IV
                                                  Plaintiff V. P G W a n d L o c a l 686
                                  R a c e , C o l o r a n d National Ori gi n D i s c r i m i n a t i o n -
                                                            Disparate Impact

          6 0 . Plaintiff r e - a v e r s a n d incorporates by r e f e r e n c e all a v e r m e n t s in all p a r a g r a p h s ,

supra.

          6 1 . D e f e n d a n t P G W ' s policies a n d p r a c t i c e s of u s e of plant v e h i c l e s , e l e c t r o n i c s ,

scheduling work a s s i g n m e n t s a n d overtime, inter alia, h a v e a d i s p a r a t e impact on protected

c l a s s m e m b e r s including, but not limited to. Plaintiff.

          6 2 . D e f e n d a n t L o c a l 6 8 6 ' s policies a n d p r a c t i c e s of investigation of g r i e v a n c e s a n d

representation of m e m b e r s a g a i n s t m a n a g e m e n t h a v e a d i s p a r a t e impact on protected c l a s s

m e m b e r s including, but not limited to, Plaintiff.
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            6 3 . A s applied by P a s s y u n k plant m a n a g e m e n t a n d ottiers a n d / o r L o c a l 6 8 6

r e p r e s e n t a t i v e s , e a c h d e f e n d a n t ' s policies a n d p r a c t i c e s a d v e r s e l y impact protected c l a s s

m e m b e r s including, but not limited to, Plaintiff.

           64. In the alternative, or in addition, D e f e n d a n t s fail a n d r e f u s e to adopt alternative

employment and/or collective bargaining p r a c t i c e s in a non-discriminatory m a n n e r a s to

Plaintiff.

           W H E R E F O R E , Plaintiff respectfully r e q u e s t s this H o n o r a b l e C o u r t e n t e r judgment in

him favor a n d a g a i n s t D e f e n d a n t s P G W a n d L o c a l 6 8 6 in the form of front pay, b a c k pay,

c o m p e n s a t o r y a n d punitive d a m a g e s , attorney's f e e s , e x p e r t f e e s , c o s t s a n d s u c h other relief

a s this Court d e e m s proper.

                                                                                     Respectfully submitted:

                                                                                     L A W O F F I C E O F K A R I N M. G U N T E R




                                                                                     K a r i n M. G u n t e r , E s q u i r e
                           Case 2:19-cv-04428-GJP Document 1 Filed 09/24/19 Page 14 of 21
                                                 U.S. E Q U A L E M P L O Y M E N T O P P O R T U N I T Y COMMISSION


                                                            DISMISSAL AND NOTICE OF RIGHTS
 To:     Miguel C h a v a r r i a , J r .                                                                 From:     P h i l a d e l p h i a District O f f i c e
         131 E . D u r h a m S t r e e t                                                                            801 Market Street
         Philadelphia, PA 19119                                                                                     Suite 1300
                                                                                                                    P h i l a d e l p h i a , P A 19107



                                 On behalf of person(s)      aggrieved      whose identity is
                                 CONFiDENTIAL         (29 CFR §1601.7(a))
 E E O C Charge No.                                       E E C C Representative                                                                          Telephone No.

                                                          L e g a l Unit,
 530-2018-05271                                           Legal Technician                                                                                (215) 4 4 0 - 2 8 2 8

 T H E E E O C IS C L O S I N G I T S F I L E O N T H I S C H A R G E F O R T H E F O L L O W I N G R E A S O N :
                   The facts alleged in the charge fail to state a claim under any of the statutes enforced by the E E O C .


                   Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


                   The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


                   Your charge w a s not timely filed with E E O C ; in other words, you waited too long after the date(s) of the alleged
                   discrimination to file your charge

                   The E E O C issues the foliowing determination: B a s e d upon its investigation, the E E O C is unable to conclude that the
                   information obtained establishes violations ofthe statutes. This does not certify that the respondent is in compliance with
                   the statutes. No finding is made a s to any other issues that might be construed a s having been raised by this charge.

                   The E E O C has adopted the findings of the state or local fair employment practices agency that investigated this charge.


                   Other (briefly      state)



                                                                     - NOTICE OF SUIT RIGHTS •
                                                             (See   the additional information       attached to this form.)

Title VII, the A m e r i c a n s with D i s a b i l i t i e s A c t , t h e G e n e t i c I n f o r m a t i o n N o n d i s c r i m i n a t i o n A c t , or t h e A g e
D i s c r i m i n a t i o n in E m p l o y m e n t A c t : T h i s will b e the only notice of d i s m i s s a l a n d of y o u r right to s u e that w e will s e n d y o u .
Y o u m a y file a lawsuit a g a i n s t the r e s p o n d e n t ( s ) under f e d e r a l l a w b a s e d on this c h a r g e in f e d e r a l or s t a t e court. Y o u r
lawsuit m u s t be filed W I T H I N 90 D A Y S of y o u r r e c e i p t o f t h i s n o t i c e ; or your right to s u e b a s e d on this c h a r g e will be
lost. ( T h e time limit for filing suit b a s e d on a c l a i m under state l a w m a y be different.)


E q u a l P a y A c t ( E P A ) : E P A suits must be filed in f e d e r a l or state court within 2 y e a r s ( 3 y e a r s for willful violations) of the
alleged E P A u n d e r p a y m e n t . T h i s m e a n s that b a c k p a y d u e for a n y v i o l a t i o n s that o c c u r r e d m o r e t h a n 2 v e a r s (3 y e a r s )
before y o u file suit m a y not be c o l l e c t i b l e .

                                                                                                    f the Commission



 Endosures(s)
                                                                               J a m i e R. W i l l i a m s o n ,                                                  (Date   Mailed)
                                                                                   District D i r e c t o r
 cc:         PHILADELPHIA G A S W O R K S
             Brett A. Z a h o r c h a k , E s q . ( F o r R e s p o n d e n t )                         Karin Gunter, E s q . (For C h a r g i n g Party)
             S e n i o r Attorney                                                                       A t t o r n e y at L a w
             800 W. M o n t g o m e r y A v e n u e , 4"^ F l o o r                                     8 5 Old C e d a r b r o o k R o a d
             P h i l a d e l p h i a , P A 19122                                                        Wyncote, P A 19095
                                 Case 2:19-cv-04428-GJP Document 1 Filed 09/24/19 Page 15 of 21
  Form 161 ( 1 1 / 1 6 )                               U.S.    E Q U A L E M P L O Y M E N T O P P O R T U N I T Y COMMISSION


                                                                 DISMISSAL AND NOTICE OF RIGHTS
 To:       Miguel C h a v a r r i a , J r .                                                                      From:      P h i l a d e l p h i a D i s t r i c t Office
           131 E . D u r h a m Street                                                                                       801 Market S t r e e t
           P h i l a d e l p h i a , P A 19119                                                                              S u i t e 1300
                                                                                                                            P h i l a d e l p h i a , P A 19107



                                        On behalf of person(s)    aggrieved      whose identity is
                                        CONFIDENTIAL       (29 CFR §1601.7(a))
 E E O C Charge No.                                            E E C C Representative                                                                               Telephone No.

                                                               L e g a l Unit,
 530-2018-05273                                                Legal Technician                                                                                     (215) 4 4 0 - 2 8 2 8

 T H E E E O C IS C L O S I N G I T S F I L E O N T H I S C H A R G E F O R T H E F O L L O W I N G R E A S O N :
                           The facts alleged in the charge fail to state a claim under any of the statutes enforced by the E E O C .


                           Your allegations did not involve a disability a s defined by the Americans With Disabilities Act.


                           The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


                           Your charge was not timely filed with E E O C ; in other words, you waited too long after the date(s) of the alleged
                           discrimination to file your charge

                           The E E O C issues the following determination: Based upon its investigation, the E E O C is unable to conclude that the
                           information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                           the statutes. No finding is made as to any other issues that might be construed a s having been raised by this charge.

                           The E E O C has adopted the findings of the state or local fair employment practices agency that investigated this charge.


                           Other (briefly   state)



                                                                          - NOTICE OF SUIT RIGHTS -
                                                                   (See the additional       information     attached to this form.)

Title Vil, the A m e r i c a n s with D i s a b i l i t i e s A c t , the G e n e t i c Information N o n d i s c r i m i n a t i o n A c t , or the A g e
D i s c r i m i n a t i o n in E m p l o y m e n t A c t : T h i s will be the only notice of d i s m i s s a l a n d of your right to s u e that w e will s e n d y o u .
Y o u m a y file a lawsuit a g a i n s t the r e s p o n d e n t ( s ) u n d e r f e d e r a l l a w b a s e d on this c h a r g e in f e d e r a l or state court. Y o u r
l a w s u i t m u s t be filed WITHIN 90 D A Y S of y o u r r e c e i p t o f t h i s n o t i c e ; or your right to s u e b a s e d on this c h a r g e will be
lost. ( T h e time limit for filing suit b a s e d on a claim under s t a t e law m a y be different.)


E q u a l P a y A c t ( E P A ) : E P A suits m u s t be filed in f e d e r a l or state court within 2 y e a r s ( 3 y e a r s for willful violations) of the
alleged E P A u n d e r p a y m e n t . T h i s m e a n s that b a c k p a y d u e for any v i o l a t i o n s that o c c u r r e d m o r e than 2 y e a r s (3 y e a r s )
before y o u file s u i t m a y not be c o l l e c t i b l e .

                                                                                                behsrltofthe Commission


                                                                                                                                                                      n/oi /lo/q
 Enclosures(s)                                                                       J a m i e R. W i l l i a m s o n ,                                                      (Date   Mailed)
                                                                                          District Director

 cc:             P G W UNION L O C A L 6 8 6                                                                   K a r i n G u n t e r , E s q . ( F o r C h a r g i n g Party)
                 N i c h o l a s J . Botta, E s q . ( F o r R e s p o n d e n t )                           A t t o r n e y at L a w

                     r c > ..on                                                     85 O l d C e d a r b r o o k R o a d
                 l i t A                   llTa\r.o              °°                                           W y n c o t e , P A 19095
                 P h i l a d e l p h i a , P A 19102
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                                                                  I I R O Polio-#005-21




         Please read this short questionnaire from beginning to end before filling out
         to individual questions. Please answer every applicable question.

         N O T E ; You must identify the race and gender of every person you name in this c
         The following abbreviations may be useful: W=white, B=black, SSA= Spanish Surn
         American, F»female, M=raale, NBA=^ Native Bom American.

         Example:    My supervisor, John Doe (W), gave me a written warning on 11/7/06.


Todav's Date                          Emolovee Name fPrint)



I.D, Number                              Job Title & Department


Date of Hire                      Telephone Extension


Home Address                                          Telephone Number



  1.   Which ofthe following do you feel was the reason for the problem that you are

sfRace         •    Gender    •   Disability    •   Age   SlColor         DNon-Job Related Disabilit

•Religion          l^Natural Origin    DVeteran's Status      •   Other (explain)




  2. Please give a brief statement of your complaint, providing names and specific d
possible. Copies of any documented information, which backs up your complaint, should
more space is needed, attach extra pages.
           Case 2:19-cv-04428-GJP Document 1 Filed 09/24/19 Page 17 of 21




3. Who witnessed the above problem(s)?




Telephone Numbers)             7 ^<b    " ^ ^ S C

What
 Vhat will
      will they
           they be
                be able
                   able to
                        to tell
                           tell us?
                                us?       ,   f,

<4aif~c



4.    Did you complain to your foreman, supervisor or manager?

efVes       •   No

     a.    I f yes, give the name of the person to whom you complained:

Name:^»^        [\^\it3^\A          Telephone Ext.

Location^^Vl<4^

     b.    Explain what happened?        , , / / • / • /               ,    ,   /
     AP. X-ff^c.        g^Wutrt-
     ^^^w^^-^                  \^                       y^        ^.   zz



5. Name other people who have been treated           different.




                                        Page 2 of 3
          Case 2:19-cv-04428-GJP Document 1 Filed 09/24/19 Page 18 of 21




6. Name the other people who have been treated similarly.




                                        ility was
7. Explain why you believe your race, gender,  age aorfactor in what happened.
                                                       disabil
                                                    fl-ACk-   i^P< ^ilb Ct,Ciai^3l~




8. Are you a Union Member?        S/Ves       DNo

Name of Union/0^\/.^     p,iAAf    UiAjOi/^    0^   p(^cl^U   jif   loui

Name of Union Representative

Telephone Extension      A^k^             Name of Local Union President        J^^l^   Ho (Hvt^J
Telephone Number       2/5"-^^

9. Did you file a grievance regarding the above problem(s)?                •   Yes

I f yes, attach a copy of the grievance. Explain what step your grievance is now in. Gi
letter and the name(s) and title{s) of persons mentioned.




                                          Page 3 of3
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Wednesday, December 27, 2017         3:28 AM




  December 19th at approximately 4p.m. Dave Martinez entered the LNG Control Building and said that
  he had been hearing things from people in a tone and manner which let me know he was trying to
  intimidate me ,1 immediately told Dave that i did not want to get into any discussion with him without
  union representation he ignored my request and proceeded to ask me questions about my issues with
  how he was scheduling personnel and the fact that I went to the union to handle the issue, i explained
  to Dave that everything he was asking about had already been conveyed through Jessie Gill who is my
  Gas Processing union representative which is myrightbut he continued to express that 1 should not go
 to the union I once again tokJ him t did not want to have this discussion without union representation
 and he finally left, I later found out that he had interrogated union and management personnel In the
 central control building before he came to my work station, i have had several Interactions with Dave
  Martinez in the past which include his having Shift Supervisor Ryan O'Donnell threaten me by phone
 that if I did not turn down insufficient notice pay he was going to take overtime from me, when
 O'Donnell catted he specified that Dave Martinez told him to call with the threat I promptly told
 O'Donnell I would be contacting the union representative and get back to him. The union had contact
 with plant manager Brian McGuire and the Issue was resolved with me receiving my insufficient notice
 pay and not having scheduled overtime taken aviray. Dave Martinez has ignored the seniority guidelines
 when Issuing vacation and denied me vacation days and given them to Individual with 15 years less
 company time, this issue was also handled with the Union and resolved with Brian McGuire. Since Brian
 McGuire and Dave Martinez have been in charge of Passyunk Plant there Is a division within operations
 like I have never experienced in my 25 years working for the Philadelphia Gas Works and it is clearly race
 and color based with those of Caucasian persuasion and those of Puerto Rican decent forming a union
 against those who are African American or Brown Skinned. Its blatant and clear when it comes to
 ^Imess in schedulir^ and advancement within the plant and operations that African Americans are
 treated unfeiriy and even undermined and sabotaged vriien trying to advance. All African American
 Shift Supervisors were excluded recently from participating in the joint pig project with distribution and
 outside entities while white supervisors when included and given overtime to be Involved with a rare
 project for Passyunk Plant And this exclusion did not go without notice its easy to see no African
 Americans were wanted on this special project After this a few African American supervisors asked
 Dave Martinez about overtime distribution and his response I believe in retaliation for questioning his
 was to exclude all African American Shift supervisors from the LNG truck unloading operation which they
 have been involved with in previous years and also delegated the bulk of the union portion of truck
 unloading to African American operators. Truck Unloading is considered to be one of the less desirable
jobs in operations by some so thte is why I the African American operators where scheduled to do 90%
of the unloading with one white POl operator doing one day of unloading while myself a senior working
foreman did six days of unloading. There is a dear bias and favoritism which Is race and coior based and
it is very dear and meant to belittle, demean, divide, and exdude the African American employees at
 Passyunk Plant ,1 hope that you questions every African American employee who works at Passyunk and
Richmond Plant to hear their stories as a lot feel intimidated and scared of retaliation for complaining.
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                                                      VERIFICATION

     I, M I G U E L J . C H A V A R R I A , J R . , a m Plaintiff in the foregoing pleading. I h e r e b y verify that

the a v e r m e n t s s et forth in the herein Complaint of Discrimination a r e true a n d correct, to the

best of my knowledge, information a n d belief. I u n d e r s t a n d that f a l s e s t a t e m e n t s herein a r e

m a d e subject to the p en a lties of 18 P a . C . S . A . section 4 9 0 4 , relating to u n s w o r n falsification to

authorities a n d 2 8 U . S . C . s e c t i o n 1 7 4 6 u n s w o r n de c lar ations under penalty of perjury.
